       Case 2:17-cv-02712-HLT-JPO Document 32 Filed 02/12/19 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

SP SNT HOLDINGS, LLC, and                      )
KEVIN WAGNER,                                  )
                                               )
               Plaintiffs,                     )
                                               )
v.                                             )      Case No. 2:17-cv-02712
                                               )
SOCIAL NETWORKING                              )
TECHNOLOGY, INC.,                              )
STUART BRUCK,                                  )
DAVID M. MCNAMEE,                              )
KEVIN OWENS,                                   )
MASSIMO MESSINA, and                           )
SHARON AMEZCUA,                                )
                                               )
               Defendants.                     )

                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Plaintiffs, SP SNT Holdings, LLC and Kevin Wagner (collectively, “Plaintiffs”) and

Defendants Social Networking Technology, Inc., Stuart Bruck, David McNamee, Kevin Owens,

Massimo Messina, and Sharon Amezcua (collectively, “Defendants”), by and through their

undersigned counsel and pursuant to Fed. R. Civ. P. 41(a)(1), hereby stipulate that the above-

captioned action is dismissed with prejudice in its entirety as between Plaintiffs and Defendants,

each of the parties to bear their own costs.

       Plaintiffs further stipulate that they originally filed their claims in this action with a good

faith belief that there was a substantial factual foundation for the claims against Defendants.

However, since filing this action, Plaintiffs have concluded, based on further investigation and

discovery, that there was not a substantial factual foundation for the claims against Defendants

when Plaintiffs filed them.

DATE: February 12, 2019
Case 2:17-cv-02712-HLT-JPO Document 32 Filed 02/12/19 Page 2 of 3




/s/ Jeffrey S. Lawrence___
Jeffrey S. Lawrence
David R. Smith
SMITH LAWRENCE, LC
700 W. 31st Street, Suite 408
Kansas City, MO 64108
jeff@smithlawrence.com
david@smithlawrence.com

ATTORNEYS FOR PLAINTIFFS


/s/ Ross A. Hollander____
Ross A. Hollander
Joseph, Hollander & Craft, LLC - Wichita
500 N. Market Street
Wichita, KS 67214
316-262-9393 ext. 310
Fax: 316-262-9006
rhollander@josephhollander.com

ATTORNEY FOR DEFENDANTS
SOCIAL NETWORKING TECHNOLOGY, INC.,
MASSIMO MESSINA, STUART BRUCK,
DAVID McNAMEE, AND KEVIN OWENS

/s/ James R. Ward
James R. Ward, KS Bar #15924
Brian J. Christensen, KS Bar #16528
JACKSON LEWIS P.C.
7101 College Blvd, Suite 1200
Overland Park, KS 66210
Telephone: (913) 981-1018
Facsimile: (913) 981-1019
James.Ward@jacksonlewis.com
Brian.Christensen@jacksonlewis.com

ATTORNEYS FOR DEFENDANT
SHARON AMEZCUA




                                      2
       Case 2:17-cv-02712-HLT-JPO Document 32 Filed 02/12/19 Page 3 of 3




                                CERTIFICATE OF SERVICE


        I hereby certify that on this 12th day of February, 2019, a true and accurate copy of the
foregoing was filed electronically via the court’s CM/ECF electronic filing system which will send
a notice of electronic filing to the following:

       Jeffrey S. Lawrence
       David R. Smith
       SMITH LAWRENCE, LC
       700 W. 31st Street, Suite 408
       Kansas City, MO 64108
       jeff@smithlawrence.com
       david@smithlawrence.com

       ATTORNEYS FOR PLAINTIFFS

       Ross A. Hollander
       Joseph, Hollander & Craft, LLC - Wichita
       500 N. Market Street
       Wichita, KS 67214
       316-262-9393 ext. 310
       Fax: 316-262-9006
       rhollander@josephhollander.com

       ATTORNEY FOR DEFENDANTS
       SOCIAL NETWORKING TECHNOLOGY, INC.,
       MASSIMO MESSINA, STUART BRUCK,
       DAVID McNAMEE AND KEVIN OWENS

       James R. Ward, KS Bar #15924
       JACKSON LEWIS P.C.
       7101 College Blvd, Suite 1200
       Overland Park, KS 66210
       Telephone: (913) 981-1018
       Facsimile: (913) 981-1019
       James.Ward@jacksonlewis.com

       ATTORNEYS FOR DEFENDANT
       SHARON AMEZCUA

                                                    /s/ Jeffrey S. Lawrence
                                                    ATTORNEY FOR PLAINTIFFS




                                                3
